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                                UNITED STATES DISTRICT COURT

                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                ___________________


THOMAS J. SALADINO,

        Plaintiff,
                                                     Case No. 1:16:cv-01010-JGQ-RSK
v.
                                                     Hon. Gordon J. Quist
CITY OF WYOMING, JAMES
CARMODY, and CURTIS HOLT

        Defendants.


Karie H. Boylan (P55468)                           Anthony R. Comden (P44958)
BOYLANLAW, P.C.                                    MILLER JOHNSON
Attorney for Plaintiff                             Attorneys for Defendants
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                                    JOINT STATUS REPORT

        A Rule 16 Scheduling Conference is scheduled for November 15, 2016, at 11:00 a.m.

before Honorable Gordon J. Quist, United States District Judge. Appearing for the parties will

be Karie Boyland, counsel for Plaintiff; and Anthony R. Comden, counsel for Defendants.

        1.      Jurisdiction:     The basis for the Court's jurisdiction is original jurisdiction

pursuant to 28 U.S.C. § 1331.

        2.      Jury or Non−jury: This case is to be tried before a jury.

        3.      Judicial Availability:     The parties do not agree to have a United States

Magistrate Judge conduct any and all further proceedings in the case, including trial, and to order

the entry of final judgment.
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       4.      Geographic Transfer: The parties did not believe a transfer for geographic

convenience is warranted in this case.

       5.      Statement of the Case:

PLAINTIFF:

       Plaintiff worked as a full time Firefighter for Defendant City of Wyoming and part time

Firefighter then Fire Chief for Jamestown Township for decades. Always with Defendants’

approval, without hesitation. In 2011, Plaintiff became an outspoken public advocate for passage

of House Bill 4624, commonly referred to as the “Two-Hatter” protection law. The law is aimed

at protecting the right of full time Firefighters from one municipality to work part time at another

municipality. Defendants opposed passage of House Bill 4624.

       HB 4624 passed and became MCL 423.25a, effective October 15, 2014. The statute

provides a full time Firefighter may accept part time employment with another fire department if

it does not conflict with his or her performance of the original employment. The statute prohibits

a government from adopting a policy in conflict with the right granted an employee under this

law.   On January 1, 2015, Defendant Carmody issued a standing Order to Public Safety

employees that ALL firefighting and EMS part time positions were “inherently in conflict” with

full time employment with the City of Wyoming. On January 28, 2016, for the first time in

decades, Defendant Carmody willfully and maliciously denied Plaintiff’s request to work as part

time Fire Chief for Jamestown Township. Defendants stated Plaintiff could only work as a

Firefighter for the Township from that point forward. In clear violation of MCL 423.25a.

       In July of 2016, Defendants accused Plaintiff of being the defacto Fire Chief in

Jamestown Township. On August 10, 2016, Defendants fired Plaintiff in retaliation for his

advocating for passage of House Bill 4624. This suit was filed on August 11, 2016.



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DEFENDANTS:

       The City of Wyoming employed Plaintiff as a firefighter. In January 2016, the City

denied Plaintiff’s request for permission to have secondary employment as the Fire Chief of the

Jamestown Township Fire Department, but it encouraged Plaintiff to request permission to work

for Jamestown Township as a paid-on-call firefighter. Despite providing his written assurance

that he had complied with the City’s directive that he could not have secondary employment as

the Fire Chief of Jamestown Township, the City learned that Plaintiff was continuing to

represent himself as the Jamestown Township Fire Chief, was continuing to receive Fire Chief

pay, and was otherwise acting in a manner consistent with being the Jamestown Township Fire

Chief. When the City informed Plaintiff of this information, he admitted that the information

was accurate.

       During the City’s investigation, the City instructed Plaintiff to have no further contact

with Jamestown Township officials or employees pending completion of the investigation.

Notwithstanding that instruction, Plaintiff met with one or more Jamestown Township

representatives the very same day that the City directed him to have no contact. Again, when the

City confronted him with this information, Plaintiff admitted his misconduct.

       Based on its investigations, the City terminated Plaintiff’s employment.         Plaintiff

challenged his termination by filing a grievance with his union, the International Association of

Firefighters. The IAFF declined to pursue Plaintiff’s grievance to arbitration.

       6.       Pendent State Claims: As of this time, the only pendant claim is violation of

Michigan’s Whistleblower statute, MCL 423.215a. Plaintiff anticipates additional claims will be

uncovered during discovery.




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       7.      Joinder of Parties and Amendment of Pleadings: The parties expect to file all

motions for joinder of parties to this action and to file all motions to amend the pleadings by

February 1, 2017.

       8.      Disclosures and Exchanges:

               (i)     Fed.R.Civ.P. 26(a)(1) disclosures shall be made by December 16, 2016.

               (ii)    Plaintiff expects to be able to furnish the names of his expert witnesses to

Defendants by March 1, 2017.           Defendants expect to be able to furnish the names of

Defendants’ expert witnesses to Plaintiff by March 31, 2017. In this case, it would be advisable

to exchange written expert witness reports as contemplated by Fed.R.Civ.P. 26(a)(2). Reports, if

required, should be exchanged according to the following schedule:

               From Plaintiff to Defendants by April 15, 2017;

               From Defendants to Plaintiff by May 12, 2017.

               (iii)   Other than Rule 26 disclosures, the parties do not agree to make available

       any documents without the need of a formal request for production.

       9.      Discovery: The parties believe that fact discovery proceedings can be completed

by March 31, 2017 and expert discovery by May 31, 2017. The parties recommend the

following discovery plan: the parties will exchange written discovery and depositions. Third

party discovery will be necessary as well. The parties believe that the standard limitations on

discovery should apply in this case.

       10.     Disclosure or Discovery of Electronically Stored Information: The parties
have discussed the production of electronically stored information and suggest that such
information be handled as follows: To the extent either party seeks discovery of electronically
stored information (ESI), the parties agree that ESI may be produced initially in paper format
and/or outlined and described on paper, i.e., a description given in writing as to how it is stored,
where, and in what format so that the party requesting same may determine or choose the most

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efficient manner of production. ESI will be provided in its native format so long as it is
reasonably accessible and not otherwise objectionable.
       11.     Assertion of Claims of Privilege or Work-Product Immunity After
Production: The parties agree that, in the event of inadvertent production of information (ESI
or otherwise) claimed as privileged or subject to trial-preparation protection, the producing party
must notify the receiving party of the inadvertent production. After notification, the receiving
party must return, sequester or destroy the information and cannot use it or disclose it to third
parties until the claim is resolved. If disclosed before receiving the claim, appropriate steps to
recall must be taken. The receiving party may submit the information to the Court to decide if it
is protected or privileged as claimed and, if so, whether a waiver has occurred. The producing
party must submit its claim on a timely basis and the Court may consider any delay in
notification in addressing the issue of waiver.
       12.     Motions. The parties acknowledge that W.D. Mich. LCivR 7.1(d) requires the

moving party to ascertain whether the motion will be opposed. All motions shall affirmatively

state the efforts of the moving party to comply with the obligation created by Rule 7.1(d).

       The following dispositive motions are contemplated by each party: Defendants intend to

file a Motion for Summary Judgment.

       The parties anticipate that all dispositive motions will be filed by July 7, 2017.

       13.     Alternative Dispute Resolution:         Plaintiff suggests ADR, including Case

Evaluation would assist in resolving this dispute. Defendants respectfully do not believe that

ADR will be productive in this case but will participate in good faith in any ADR that the Court

may order.

       14.     Length of Trial: The parties estimate that trial will last approximately six full

days total, allocated as follows: four days for Plaintiff’s case and two days for Defendants’ case.

       15.     Prospects of Settlement:           Plaintiff inquired about possible settlement

discussions, which Defendants declined.



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       16.     Electronic Document Filing System: Counsel are reminded that Local Civil

Rule 5.7(a) now requires that attorneys file and serve all documents electronically, by means of

the Court’s CM/ECF system, unless the attorney has been specifically exempted by the Court for

cause or a particular document is not eligible for electronic filing under the rule. The Court

expects all counsel to abide by the requirements of this rule.        Pro se parties (litigants

representing themselves without the assistance of a lawyer) must submit their documents to the

Clerk on paper, in a form complying with the requirements of the local rules. Counsel opposing

a pro se party must file documents electronically but serve pro se parties with paper documents

in the traditional manner.

       17.     Other: None.

BOYLANLAW, P.C.                                    MILLER JOHNSON

Attorney for Plaintiff                             Attorneys for Defendants


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Date: November 9, 2016                                     Date: November 9, 2016




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